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                                         February 20, 2019



Via ECF and Federal Express

Honorable Lewis A. Kaplan, United States District Judge
Daniel Patrick Moynihan U.S . Courthouse
500 Pearl Street
New York, NY 10007

               Re:     In re: Customs and Tax Administration of the Kingdom of Denmark
                       (SKAT) Tax Refund Litigation, Docket Number 18-md-2865 (LAK)

Dear Judge Kaplan:

         The purpose of this letter is to inform you that Defendants in the consolidated cases, as set
forth below, filed Answers today with the Court in the dockets for their respective actions. Please
be advised that counsel made good faith effort to comply with Paragraph 1 of the Court's Pretrial
Order No. 4, dated October 10, 2018 [ECF Dk.# 2], which requires the filings to be made in the
master docket and "spread" to the action it applies to, but due to a technical issue, was unable to
do so. Filing an Answer in the master docket would not allow the filing to be "spread" to the
appropriate action to which it related. Counsel for the Defendants contacted the Clerk's Office
and the ECF Help Desk and made a formal request for the technical glitch to be fixed. However,
as we were informed that it will take some time to fix it, to avoid confusion, we were advised to
file the Answers in the respective dockets for each of the actions to which they relate.

      In an effort to comply with the Court's Pretrial Order No. 4, we are attaching the following
Answers, filed today, as exhibits to this Letter:

             1. Answer to the Complaint by The Aria Pension Plan, SKAT v. The Aria Pension
                Plan, Docket Number 1:18-cv-05147-LAK;

             2. Answer to the Complaint by Roger Lehman, SKAT v. The Aria Pension Plan,
                Docket Number 1:18-cv-05147-LAK;

             3. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Aria Pension Plan,
                Docket Number 1:18-cv-05147-LAK;




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                    4. Answer to the Complaint by The Belforte Pension Plan, SKAT v. The Be/forte
                       Pension Plan, Docket Number 1:18-cv-05150-LAK;

                    5. Answer to the Complaint by Roger Lehman, SKAT v. The Be/forte Pension Plan,
                       Docket Number 1:18-cv-05150-LAK;

                    6. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Be/forte Pension
                       Plan, Docket Number 1:18-cv-05150-LAK;

                    7. Answer to the Complaint by The Bravos Advisors 401 K Plan, SKAT v. The Bravos
                       Advisors 401K Plan, Docket Number 1:18-cv-05151-LAK;

                    8. Answer to the Complaint by Roger Lehman, SKATv. The Bravos Advisors 401K
                       Plan, Docket Number 1:18-cv-05151-LAK;

                    9. Answer to the Complaint by Gavin Crescenzo, SKATv. The Bravos Advisors 401K
                       Plan, Docket Number 1:18-cv-05151-LAK;

                    10. Answer to the Complaint by The Costello Advisors Pension Plan, SKAT v. The
                        Costello Advisors Pension Plan, Docket Number 1:18-cv-05158-LAK;

                    11. Answer to the Complaint by Roger Lehman, SKAT v. The Costello Advisors
                        Pension Plan, Docket Number 1:18-cv-05158-LAK;

                    12. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Costello Advisors
                        Pension Plan, Docket Number 1:18-cv-05158-LAK;

                    13. Answer to the Complaint by The Eskin Pension Plan, SKATv. The Eskin Pension
                        Plan, Docket Number 1:18-cv-05164-LAK;

                    14. Answer to the Complaint by Roger Lehman, SKAT v. The Eskin Pension Plan,
                        Docket Number 1:18-cv-05164-LAK;

                    15. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Eskin Pension Plan,
                        Docket Number 1:18-cv-05164-LAK;

                    16. Answer to the Complaint by The Fieldcrest Pension Plan, SKATv. The Fieldcrest
                        Pension Plan, Docket Number 1:18-cv-05180-LAK;

                    17. Answer to the Complaint by Roger Lehman, SKATv. The Fieldcrest Pension Plan,
                        Docket Number 1: 18-cv-05180-LAK;

                    18. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Fieldcrest Pension
                        Plan, Docket Number 1:18-cv-05180-LAK;

                    19. Answer to the Complaint by The Kodiak Capital Pension Plan, SKAT v. The
                        Kodiak Capital Pension Plan, Docket Number 1: 18-cv-05185-LAK;


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                            20. Answer to the Complaint by Roger Lehman, SKATv. The Kodiak Capital Pension
                                Plan, Docket Number 1:18-cv-05185-LAK;

                            21. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Kodiak Capital
                                Pension Plan, Docket Number 1:18-cv-05185-LAK;

                            22. Answer to the Complaint by The Krabi Holdings LLC 401K Plan, SKAT v. The
                                Krabi Holdings LLC 401K Plan, Docket Number 1:18-cv-05307-LAK;

                            23. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Krabi Holdings LLC
                                401K Plan, Docket Number 1:18-cv-05307-LAK;

                            24. Answer to the Complaint by The Kyber Pension Plan, SKATv. The Kyber Pension
                                Plan, Docket Number 1:18-cv-05186-LAK;

                            25. Answer to the Complaint by Roger Lehman, SKAT v. The Kyber Pension Plan,
                                Docket Number 1:18-cv-05186-LAK;

                            26. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Kyber Pension Plan,
                                Docket Number 1: 18-cv-05186-LAK;

                            27. Answer to the Complaint by The Lerici Capital Pension Plan, SKATv. The Lerici
                                Capital Pension Plan, Docket Number 1:18-cv-05188-LAK;

                            28. Answer to the Complaint by Roger Lehman, SKAT v. The Lerici Capital Pension
                                Plan, Docket Number 1:18-cv-05188-LAK;

                            29. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Lerici Capital
                                Pension Plan, Docket Number 1:18-cv-05188-LAK;

                            30. Answer to the Complaint by The Ludlow Holdings 401K Plan, SKAT v. The
                                Ludlow Holdings 401K Plan, Docket Number 1:18-cv-05189-LAK;

                            31. Answer to the Complaint by Roger Lehman, SKATv. The Ludlow Holdings 401K
                                Plan, Docket Number 1:18-cv-05189-LAK;

                            32. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Ludlow Holdings
                                401K Plan, Docket Number 1:18-cv-05189-LAK;

                            33. Answer to the Complaint by The Regoleth Pension Plan, SKAT v. The Regoleth
                                Pension Plan, Docket Number 1:18-cv-05190-LAK;

                            34. Answer to the Complaint by Roger Lehman, SKAT v. The Regoleth Pension Plan,
                                Docket Number 1:18-cv-05190-LAK;

                            35. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Regoleth Pension
                                Plan, Docket Number 1:18-cv-05190-LAK;


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                            36. Answer to the Complaint by The Saba Capital LLC 401K Plan, SKATv. The Saba
                                Capital LLC 401K Plan, Docket Number 1:18-cv-05192-LAK;

                            37. Answer to the Complaint by Roger Lehman, SKATv. The Saba Capital LLC 401K
                                Plan, Docket Number 1:18-cv-05192-LAK;

                            38. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Saba Capital LLC
                                401K Plan, Docket Number 1:18-cv-05192-LAK;

                            39. Answer to the Complaint by The Stark Pension Plan, SKAT v. The Stark Pension
                                Plan, Docket Number 1: 18-cv-05194-LAK;

                            40. Answer to the Complaint by Roger Lehman, SKAT v. The Stark Pension Plan,
                                Docket Number 1: 18-cv-05194-LAK;

                            41. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Stark Pension Plan,
                                Docket Number 1:18-cv-05194-LAK;

                            42. Answer to the Complaint by The West River Pension Plan, SKAT v. The West
                                River Pension Plan, Docket Number 1:18-cv-05193-LAK;

                            43. Answer to the Complaint by Roger Lehman, SKAT v. The West River Pension
                                Plan, Docket Number 1:18-cv-05193-LAK;

                            44. Answer to the Complaint by Gavin Crescenzo, SKAT v. The West River Pension
                                Plan, Docket Number 1: 18-cv-05193-LAK;

                            45. Answer to the Complaint by The Westport Advisors LLC 401K Plan, SKATv. The
                                Westport Advisors LLC 401 K Plan, Docket Number 1: l 8-cv-05183-LAK;

                            46. Answer to the Complaint by Roger Lehman, SKATv. The Westport Advisors LLC
                                401K Plan, Docket Number 1:18-cv-05183-LAK; and

                            47. Answer to the Complaint by Gavin Crescenzo, SKAT v. The Westport Advisors
                                LLC 401K Plan, Docket Number 1:18-cv-05183-LAK.

              Please be advised that two copies of this letter and each of the filed Answers as set forth
       above will also be delivered to the Chambers.



                                                                 Respectfully submitted,




                                                                  Mark Allison, Esq.
                                                                  Counsel for the Defendants
                                                                  The Aria Pension Plan
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                                                         The Bravos Advisors 401K Plan
                                                         The Costello Advisors Pension Plan
                                                         The Eskin Pension Plan
                                                         The Fieldcrest Pension Plan
                                                         The Kodiak Capital Pension Plan
                                                         The Krabi Holdings LLC 401K Plan
                                                         The Kyber Pension Plan
                                                         The Lerici Capital Pension Plan
                                                         The Ludlow Holdings 401K Plan
                                                         The Regoleth Pension Plan
                                                         The Saba Capital LLC 401 K Plan
                                                         The Stark Pension Plan
                                                         The West River Pension Plan
                                                         The Westport Advisors LLC 401K Plan
                                                         Roger Lehman
                                                         Gavin Crescenzo


       cc:       Plaintiffs Counsel via ECF.




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